                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )        NO. 3:14-00071-03
                                              )        JUDGE CAMPBELL
MICHAEL GREGORY                               )


                                             ORDER


         Pending before the Court is a Motion to Set Change of Plea Hearing (Docket No. 86).

The Motion is GRANTED in part and DENIED in part.

         The requested time is not available. However, the Court will hold a change of plea

hearing for Defendant Michael Gregory on July 21, 2014, at 10:30 a.m.

         IT IS SO ORDERED.



                                                       __________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




     Case 3:14-cr-00071      Document 87          Filed 07/16/14   Page 1 of 1 PageID #: 223
